           Case 3:11-cv-03018-JM-RBB Document 60 Filed 02/05/14 PageID.250 Page 1 of 1


                              MINUTES OF THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA

  LEVSHIN v. SAN DIEGO SHERIFF'S DEPT.                                         Case No. 11cv3018 JM(RBB)
                                                                               Time Spent: 1 hr. 5 mins.

  HON. RUBEN B. BROOKS                       CT. DEPUTY VICKY LEE                                 Rptr.

                                                           Attorneys
                    Plaintiffs                                                Defendants

  Dante Pride (present)                                          Kevin Kennedy (present)



  PROCEEDINGS:                    In Chambers              x    In Court            Telephonic


  A settlement conference was held.




  DATE: February 5, 2014                                  IT IS SO ORDERED:    _________________________
                                                                               Ruben B. Brooks,
                                                                               U.S. Magistrate Judge
  cc:     Judge Miller                                                        INITIALS: VL (mg) Deputy
          All Parties of Record



I:\Chambers Brooks\CASES\_1983\LEVSHIN3018\Minute09.wpd
